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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                              Case No. 21-cr-208-APM

 THOMAS WEBSTER,

      Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

         For violently assaulting Metropolitan Police Department Officer Noah Rathbun with a

deadly and dangerous weapon during a riot at the U.S. Capitol Building on January 6, 2021, for

tackling Officer Rathbun to the ground and choking him by the chinstrap of his gas mask, for

spearheading the breach of the police line at the Lower West Plaza, and for disgracing a democracy

that he once fought honorably to protect and serve, the government respectfully requests that this

Court sentence defendant Thomas Webster to 210 months of incarceration. This recommended

sentence lies at the low end of the Guidelines range. The Government further recommends that

the Court impose a term of supervised release of three years, restitution of $2,060, a mandatory

$100 special assessment for each of the five felony counts of conviction, and a mandatory $10

special assessment for Count Six.




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I.     FACTUAL BACKGROUND

       A.      The January 6, 2021 Attack on the Capitol

       On January 6, 2021, Webster joined thousands of rioters who descended upon the U.S.

Capitol Building and grounds in an effort to disrupt the peaceful transfer of power after the

November 3, 2020 presidential election. Some rioters, wielding deadly and dangerous weapons

like Webster’s, attacked, abducted, beat, and injured police officers. Others threatened, cursed,

shoved, and toppled officers and physical barricades. The rioters who ultimately entered the

Capitol Building terrified congressional staff and others on scene that day, many of whom fled for

their safety. The rioters went on to ransack the Capitol Building—stealing, vandalizing, and

destroying artwork, furniture, and other historic and valuable property.

       The breach of the U.S. Capitol Building was made possible by rioters like Webster, who

led the charge against the police barricades at the Lower West Plaza. The Lower West Plaza would

ultimately come to resemble a medieval battle as rioters continuously bombarded officers with

anything they could get their hands on—makeshift projectiles, tear gas canisters, fire extinguishers,

wooden planks, glass bottles, and, as Webster did, metal flagpoles. Each individual attack on an

officer at the West Plaza weakened the defensive line, fueled the crowd, and brought the rioters

one step closer toward disrupting our democracy.

               1.      Breach of West Front of the Capitol Grounds

       On January 6, 2021, the U.S. Capitol and its grounds were restricted from the public. The

outer perimeter of the Capitol Grounds, made up of bicycle-rack and snow fencing, bore numerous

signs stating, “AREA CLOSED – By order of the United States Capitol Police Board[.]” These

fences were not actively manned, but members of the United States Capitol Police (“USCP”) were


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stationed nearby as well as patrolling throughout the grounds.

        At approximately 12:45 p.m., a crowd began to assemble behind the barricades near the

Peace Monument, which led to the Pennsylvania Walkway. Seeing this, a half dozen USCP

officers gathered behind what is labeled in Exhibit A as “1st Police Barricade,” circled in red below

and marked as Area A. At 12:52 p.m., the crowd breached the outer perimeter by jumping over

and pushing down the unmanned bicycle-rack barricades at the Peace Circle. The crowd then

advanced further into the restricted area and began engaging with USCP officers at the first

manned barrier in Area A.




                                                       B           C




                                                  A



 Exhibit A: Open-Source Rendering of Capitol Building and Grounds as they appeared on January 6, 2021, credited to Twitter
                                       users @ne0ndistraction & @sansastark525.


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         Less than a minute later, the mob, already numbering in the hundreds, shoved the handful

of USCP police officers in and around the barrier out of the way. By 12:58 p.m., the rioters had

crossed the unmanned barrier halfway down the Pennsylvania Walkway and overwhelmed the

second manned police barrier, Area B on Exhibit A. They flooded the area labeled “Lower West

Plaza,” Area C on Exhibit A, pushing against the barricade there.




 Exhibit B: Stills from USCP security footage showing the progression of the crowd, from the outer barricades (top left), to the
  first manned police barricade (top right), to engaging with USCP at the second manned police barricade (bottom left), and
                                     beginning to fill the Lower West Plaza (bottom right).

         Despite the more-permanent nature of the metal fencing at the West Plaza barricade and

the growing number of USCP officers responding to the area, the crowd remained at this location

for less than a minute, pushing through and over the fence to the front of the plaza. For the next

hour and a half, a growing number of police officers were faced with an even faster growing

number of rioters in the restricted area, the two sides fighting over the establishment and

reinforcement of a police defensive line on the plaza with fists, batons, makeshift projectiles,

pepper spray, pepper balls, concussion grenades, smoke bombs, and a wide assortment of

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weaponry brought by members of the crowd or seized from the inaugural stage construction site.




 Exhibit C: The breach of the West Plaza barricades (top left) was followed by the formation of a USCP officer wall (top right)
 until MPD officers arrived with bike rack barriers for a defensive line at the top of the West Plaza stairs (bottom left). In the
photo of the nearly completed bicycle rack barrier line as of 1:39 pm, a large metal-framed Trump billboard, which would later
                         be used against the police line like a battering ram, is visible (bottom right).

         Following the conclusion of President Trump’s speech at approximately 1:15 p.m., the

crowd began to grow even more rapidly, buttressed by those who had walked the mile and a half

from the Ellipse to the Capitol. At 2:03 p.m., Metropolitan Police Department officers responding

to USCP officers’ calls for help began broadcasting a dispersal order to the crowd. It began with

two blaring tones, and then a 30-second announcement, which was played on a continuous loop:

         This area is now a restricted access area pursuant to D.C. Official Code 22-1307(b).
         All people must leave the area immediately. This order may subject you to arrest
         and may subject you to the use of a riot control agent or impact weapon.

Despite the warning and the officers’ deployment of riot control chemical agents and impact

weapons, few members of the crowd left. On the contrary, the mob in the restricted area continued

to grow as crowds streamed towards the West Front, which looked like a battle scene, complete

with an active melee and visible projectiles.
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        After having actively defended their line for over an hour, the hundreds of officers at the

front of the inauguration stage were flanked, outnumbered, and under continuous assault from

rioters in front of, to the side of, and above them on the scaffolding. Because many of the

thousands of people surrounding the officers were not engaged in assaultive conduct, it was

difficult for officers to identify individual attackers or defend themselves. By 2:28 p.m., the

officers’ situation had become untenable. Rioters had begun breaching the defensive line, and the

officers were forced to retreat. As their perimeter collapsed, the officers were enveloped by the

crowd. The rioters had seized control of the West Plaza and the inauguration stage. There were

now no manned defenses between the crowd and several entrances into the United States Capitol

Building, allowing the stream of rioters that had started entering the building around 2:13 p.m. to

build to a torrent.




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Exhibit D: Breakthroughs in the defensive line on both the left and right flanks (top) caused the entire police line to collapse and
individual officers were swallowed by the crowd (middle) and many officers were assaulted as they waited in a group to retreat
                              through doors and stairwells up onto the inaugural stage (bottom).
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               2.    Attempted Breach of the Capitol Building and Assaultive Conduct in
               Tunnel Leading to the Doors of the West Front of the U.S. Capitol Building

       One of the most violent confrontations on January 6 occurred near an entrance to the

Capitol Building in the area known as the Lower West Terrace (“LWT”). The entrance usually

consists of a flight of stairs leading to a doorway. On January 6, 2021, however, the construction

of the inaugural stage converted the stairway into a 10-foot-wide, slightly sloped, short tunnel that

was approximately 15 feet long. That tunnel led to two sets of metal swinging doors inset with

glass. On the other side of the two sets of swinging doors was a security screening area with metal

detectors and an x-ray scanner and belt, and a hallway leading to the basement of the Capitol

Building.

       The exterior of the tunnel is framed by a stone archway that is a visual focal point at the

center of the West Front of the Capitol Building. This archway is of great symbolic significance,

having served as the backdrop for nine presidential inaugurations. On Inauguration Day, it is

draped in bunting and functions as the entrance for the President-Elect and other dignitaries. See

Exhibit E.




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     Exhibit E: “Inauguration at the U.S. Capitol,” Architect of the Capitol, https://www.aoc.gov/what-we-do/programs-
                                                  ceremonies/inauguration.

        On January 6, 2021, when rioters arrived at the doors behind this archway, the outer set of

doors was closed and locked, and members of Congress were sheltering nearby. USCP and MPD

officers were arrayed inside the doorway and guarding the entrance. Many of these officers had

already physically engaged with the mob for over an hour on the West Plaza before being forced

to retreat.

        At approximately 2:42 p.m., the mob broke the windows to the first set of doors, and the

police officers reacted immediately by spraying Oleoresin Capsicum (“OC”), a gaseous chemical

irritant, at the rioters. The mob continued to grow, and the rioters pushed their way into the second

set of doors, physically engaging police with batons, poles, chemical spray, glass bottles, and other

items. Officers created a line in the doorway to block the rioters and to keep them back with batons

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and OC spray.

       At a July 27, 2021 congressional hearing about the events of January 6, Congresswoman

Stephanie Murphy—in response to testimony from MPD Officer Daniel Hodges about his

harrowing experience of being assaulted while caught in the tunnel doors—described her

experience sheltering in an office near the tunnel:

       January 6th was an attack on our democracy, it was an attack on the peaceful transfer
       of power, and it was an attack on this Capitol building, but it was also an attack on
       real people. And most people don’t know this -- and I don’t think even you know
       this -- but your actions had a profound impact on me. So, at 3:00 p.m. on January
       6th, 2021, while you were holding back the mob at the Lower West Terrace
       entrance, I was holed up with Congresswoman Kathleen Rice in a small office
       about 40 paces from the tunnel that you all were in. That’s about from the distance
       where I’m sitting here on the dais to that back wall. And from that office in close
       proximity to where you all held the line, I listened to you struggle. I listened to you
       yelling out to one another. I listened to you care for one another, directing people
       back to the makeshift eyewash station that was at the end of our hall. And then, I
       listened to people coughing, having difficulty breathing, but I watched you and
       heard you all get back into the fight.” Testimony of USCP Sgt. Gonell, MPD
       Officer Fanone, USCP Officer Dunn, and MPD Officer Hodges: Hearing Before
       the House Select Comm. to Investigate the January 6th Attack on the United States
       Capitol, 117 Cong. (July 27, 2021) (Statement of Rep. Stephanie Murphy) available
       at https://www.c-span.org/video/?513434-1/capitol-dc-police-testify-january-6-
       attack.

       The violent and physical battle for control over the LWT entrance in the tunnel and

doorway area continued for over two hours, during which time rioters repeatedly assaulted,

threatened, pushed, and beat police officers. The battle for the LWT entrance involved intense

hand-to-hand combat, and some of the most violent acts against police, including the abduction

and tasering of MPD Officer Michael Fanone and the previously-mentioned assault of Officer

Daniel Hodges. Officer Fanone described the violence in the LWT tunnel as follows:

       The fighting in the lower West Terrace tunnel was nothing short of brutal. Here, I
       observed approximately 30 police officers standing shoulder to shoulder, maybe
       four or five abreast, using the weight of their bodies to hold back the onslaught of

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       violent attackers. Many of these officers were injured, bleeding, and fatigued, but
       they continued to hold the line. Id. (Statement of Officer Michael Fanone).

       During this battle, the vastly outnumbered officers were attacked with all manner of objects

and weapons. They received blow after blow from rioters who took turns assaulting them, all in a

concerted effort to breach the doorway to the basement area of the Capitol, disrupt the certification,

and overturn the election results by force. Capitol Police Sgt. Aquilino Gonell, who was present

in the tunnel that day, explained:

       What we were subjected to that day was like something from a medieval battle. We
       fought hand-to-hand, inch-by-inch to prevent an invasion of the Capitol by a violent
       mob intent on subverting our democratic process. My fellow officers and I were
       committed to not letting any rioters breach the Capitol. It was a prolonged and
       desperate struggle. Id. (Statement of Sgt. Aquilino Gonell)

Despite the mob’s efforts, the officers in the LWT held the line with commendable restraint. MPD

Officer Michael Fanone remembers one of his colleagues’ actions that day:

       In the midst of that intense and chaotic scene, [MPD] Commander [Ramey] Kyle
       remained cool, calm, and collected as he gave commands to his officers. “Hold the
       line,” he shouted over the roar. Of course, that day, the line was the seat of our
       American government. Despite the confusion and stress of the situation, observing
       Ramey’s leadership, protecting a place I cared so much about, was the most
       inspirational moment of my life. The bravery he and others showed that day are
       the best examples of duty, honor, and service. Id. (Statement of Officer Michael
       Fanone)

Several officers sustained injuries during this prolonged struggle, and many returned to defend the

Capitol, even when injured, until heavily armored reinforcements from the Virginia State Police

arrived at around 5 p.m.

       Despite being under constant assault, these officers continuously provided first aid to

injured rioters who were trapped in the tunnel area, including those who had difficulty breathing

from the chemical irritants. By heroically thwarting the mob at the LWT entrance, these officers


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potentially saved the lives of those inside the building, including members of Congress and their

staffs.

                 3.      Injuries and Property Damage Caused by the January 6, 2021 Attack

          The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021).

It was “a singular and chilling event in U.S. history, raising legitimate concern about the security—

not only of the Capitol building—but of our democracy itself.” United States v. Cua, No. 21-cr-

107, 2021 WL 918255, at *3 (D.D.C. Mar. 10, 2021); see also United States v. Fox, No. 21-cr-108

(D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr. at 14) (“This is not rhetorical flourish. This reflects the

concern of my colleagues and myself for what we view as an incredibly dangerous and disturbing

attack on a free electoral system.”); United States v. Chrestman, No. 21-mj-218, 2021 WL 765662,

at *7 (D.D.C. Feb. 26, 2021) (“The actions of this violent mob, particularly those members who

breached police lines and gained entry to the Capitol, are reprehensible as offenses against

morality, civic virtue, and the rule of law.”); United States v. Matthew Mazzocco, 1:21-cr-00054

(TSC), Tr. 10/4/2021 at 25 (“A mob isn’t a mob without the numbers. The people who were

committing those violent acts did so because they had the safety of numbers.”) (statement of Judge

Chutkan).

          In addition, the rioters injured more than one hundred police officers. See Staff of Senate

Committees on Homeland Security and Governmental Affairs and on Rules and Administration

Report, Examining the Capitol Attack: A Review of the Security, Planning, and Response Failures

on         January       6      (June       7,      2021),       at      29,       available       at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol


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Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used dangerous

weapons and chemical irritants during hours-long hand-to-hand combat with police. See id. at 27-

30.

           Moreover, the rioters inflicted significant emotional injuries on police officers and others

on scene that day who feared for their safety. See id; see also Architect of the Capitol, J. Brett

Blanton, Statement before the House of Representatives Committee on House Administration

(May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-05/AOC_Testimony_

CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect of the Capitol

employees due to the January 6, 2021 attack).

           Finally, the rioters stole, vandalized, and destroyed property inside and outside the Capitol

Building. They caused extensive, and in some instances, incalculable, losses. This included

wrecked platforms, shattered windows, broken doors, graffiti, damaged and stolen sound systems

and photography equipment, broken furniture, damaged artwork, including statues and murals,

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See id; see also United States House of Representatives Curator Farar

Elliott, Statement Before the House Appropriations Subcommittee on the Legislative Branch (Feb.

24, 2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-

AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite statues). The

attack resulted in substantial damage to the Capitol, resulting in losses of more than 2.7 million

dollars.

           B.     Webster’s Role in the January 6, 2021 Attack on the Capitol

           Webster, a former United States Marine and a twenty-year veteran of the New York City


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Police Department (“NYPD”), came to Washington D.C. on January 5 armed and ready for battle.

Not only did he pack his NYPD-issued bulletproof vest, but he also packed his “off duty”

firearm—a Smith & Wesson Model 640 revolver, small enough to conceal inside a jacket pocket.

See Exhibit F at 35:2-5. Additionally, Webster brought with him his military-issued rucksack

containing Meals Ready-to-Eat, water bottles, and Gatorade. See Trial Transcript, Apr. 28, 2022,

Morning Session, 102:7-16. To the rally and to the riot, he wore his bulletproof vest, and he carried

a large metal flagpole bearing the red and yellow flag of the United States Marine Corps.

       After attending the rally on January 6, Webster walked down the mall toward the Capitol.

When he arrived at the west front of the Capitol, the Lower West Plaza was overrun with rioters.

The booming sounds of flashbang grenades reverberated across the plaza and the smell of tear gas

permeated the air. The vastly outnumbered police were trying desperately to keep the rioters away

from the Capitol—they barricaded themselves behind metal bike racks, they pleaded with rioters

to leave the restricted premises, and they repeatedly deployed tear gas and flashbangs to disperse

the crowd. But the rioters would not leave. Instead, they used “anything [they] had their hands

on” as weapons, including glass bottles, wood planks, stolen riot shields, and metal flagpoles. See

Trial Transcript, Apr. 26, 2022, Afternoon Session, 110:12-13 (Testimony of USCP Officer Joanna

Burger). The rioters also deployed their own personal canisters of bear spray and other chemical

irritants at officers. They accosted the officers, shouting profanities and expletives, and they

accused officers of being unpatriotic for trying to protect the lawmakers inside the Capitol

Building.

       Webster could smell the tear gas and hear the flashbangs as he approached the Lower West

Plaza. He understood the significance of the less-than-lethal weapons and their intended deterrent


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effect. See Trial Transcript, Apr. 28, 2022, Afternoon Session, 42:6-8, 25 (Testimony of Thomas

Webster). As an NYPD officer who spent “countless hours . . . behind that metal barricade”

protecting dignitaries, he was particularly attuned to how dire the situation was for the police who

were trying to protect lawmakers and Vice President Pence. Trial Transcript, Apr. 28, 2022,

Morning Session, 85:21-22 (Testimony of Thomas Webster). Further, as he testified at trial, he

knew he would have been perceived as a threat by police officers guarding the Capitol on January

6 because of the metal flagpole that he was carrying. Trial Transcript, Apr. 28, 2022, Morning

Session, 132:9-19 (Testimony of Thomas Webster).

       Notwithstanding his background and training, Webster did not try to de-escalate the

situation or leave the premises. Instead, he led the charge. Webster spent eight minutes elbowing

his way through the densely packed crowd so that he could position himself at the front of the

mob. See Trial Exhibit 217. At approximately 2:28 p.m., Webster, still carrying his flagpole,

approached Officer Rathbun, who was standing behind the bike-rack barricade, pointed his index

finger at him, and immediately began shouting: “You fucking piece of shit. You fucking commie,

motherfuckers, man. You wanna attack Americans? No, fuck that.”




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                                           Trial Exhibit 204.1

       In response to Webster’s unprovoked aggression, Officer Rathbun tried to swat Webster’s

hand away and create distance between himself and Webster. But Webster continued shouting,

“A fucking Marine? You fucking commie fuck. Come on, take your shit off! Take your shit off!”

       As a former NYPD cop, Webster understood the significance of the words, “Take your shit

off” when uttered to a police officer. He knew that those were “terms that you might hear out on

the street” when someone wants to fight an officer. See Trial Transcript, Apr. 28, 2022, Afternoon

Session, 19:3-4 (Testimony of Thomas Webster). As Webster testified, “Someone might tell you,

‘Let’s take your stuff off, and let’s settle this out on the street,’ . . . You would take your shield

off, you might take your gun belt off, give it to your partner, and just kind of like, you know, no

paperwork, go old school.” See id. at 19:3-8. But the only person interested in going “old school”

that day was Webster. As Officer Rathbun testified at trial, his objective was not to incite or

engage rioters in a physical fight, because that would “immediately trigger other people to act

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violently” and place his fellow officers in danger. Trial Transcript, Apr. 27, 2022, Morning

Session, 70:18-25 (Testimony of Officer Rathbun). Rather, Officer Rathbun’s objective was “to

prevent people from entering the building,” and he would not have gestured Webster across the

police line because “that would have compromised our . . . little bike rack perimeter . . . and that’s

not what we were there to do.” Id. at 39:21-25.

       After trying to provoke Officer Rathbun into a fight, Webster forcefully pushed against the

bike rack, twice.




                                           Trial Exhibit 204.3

To protect himself from the belligerent and assaultive Webster, Officer Rathbun reached across

the police line to shove Webster away and create distance. In so doing, he struck the right side of

Webster’s face. Webster then immediately took his flagpole and begin wielding it as a weapon,

chopping it down repeatedly at the portion of the bike rack directly in front of where Officer


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Rathbun was standing and where his hands were positioned. See generally Trial Exhibit 204.




                                        Trial Exhibit 204.5




                                        Trial Exhibit 204.6



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                                        Trial Exhibit 204.7




                                       Trial Exhibit 204.8

Webster swung the flagpole with enough force to break the metal pole in half. A loud clang rang


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out each time the flagpole struck the metal bike rack. As depicted in the screenshots above,

Webster came dangerously close to hitting Officer Rathbun and the officers standing beside him

with the metal flagpole.    See Trial Transcript, Apr. 27, 2022, Morning Session, 33:21-23

(Testimony of Officer Rathbun) (“Q: Did it seem like he was trying to hit you with a flagpole? A:

Yes, he did.”).

       As Webster swung his weapon at Officer Rathbun and the bike-rack barricade, police were

forced to take a step back, allowing the mob to surge forward and breach the barricade.

Determined to disarm Webster, however, Officer Rathbun did not immediately retreat; instead, he

walked around the bike rack to wrest the flagpole from Webster’s grip. Then, as Officer Rathbun

retreated backward toward the inauguration stage, Webster crouched down, charged directly at

Officer Rathbun, and tackled him to the ground.




                                         Trial Exhibit 204.9




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                                       Trial Exhibit 204.10

Webster then dragged Officer Rathbun by his helmet, pinned him to the ground, and tried to rip

off his gas mask.




                                       Trial Exhibit 204.11



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                                         Trial Exhibit 612




                                         Trial Exhibit 111

This caused tear gas to become trapped inside Officer Rathbun’s mask, and his throat and nose

began to burn. He also struggled to breathe because he was being choked by the chinstrap of his
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helmet. While Webster had Officer Rathbun restrained on the ground and unable to breathe, other

rioters began kicking Officer Rathbun. See Trial Transcript, Apr. 27, 2022, Morning Session,

37:16-19 (Testimony of Officer Rathbun) (“I feel like I was being kicked while I was on the

ground. I mean, I know there were a lot of people standing around, but I’m not sure who was

doing it.”).

        Officer Rathbun sustained several injuries as a result of Webster’s attack, including visible

bruises and abrasions to his legs and arms.




                                Left to Right: Trial Exhibits 607, 608, and 610

        Following the attack, Webster left Officer Rathbun on the ground and continued his

advance toward the Capitol Building, where he again disobeyed commands from other police

officers to stay back behind the police line.




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                                            Trial Exhibit 110

He then broadcast a plea for backup to other rioters on a live video being filmed by another person:

“Send more patriots. We need some help!” See Trial Exhibit 208.

       Webster eventually made his way up the stairs to the inaugural stage, where he joined the

angry mob of rioters gathered outside the LWT tunnel. It was there that he witnessed rioters abduct

and drag Officer Fanone face first down the stairs and beat him.




                                              Officer Fanone




                     WEBSTER




                                    Screenshot from Trial Exhibit 210

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While it is not clear what time Webster ultimately left the Capitol grounds, he was last seen on the

Lower West Terrace at 4:13 p.m., about an hour after Officer Fanone was attacked, and

approximately two hours after he attacked Officer Rathbun.

       C.      Webster’s Lack of Remorse

       Webster did not regret his actions on January 6. Quite the contrary. That evening, when

one of his friends texted him to ask if he was okay or if he needed bail money, Webster responded:

“All is well[,] in my room[.] Never forget this date.” See Trial Exhibit 304. He knew that night

that FBI agents were trying to identify and apprehend the rioters, but he did not immediately turn

himself in to the FBI. See Trial Exhibit 314 (web search from January 6, 2021 at 11:13 p.m.

entitled “NOW: Facial Recognition Proves Who Stormed Capitol”). Instead, at some point during

the seven weeks between his assault of Officer Rathbun and his self-surrender, Webster obstructed

justice by attempting to delete photographs he took on his cellular phone on January 6 while on

Capitol grounds. See Trial Exhibits 308 and 309.

       Far from demonstrating remorse or disavowing his actions, Webster doubled down by

taking the stand at trial to villainize and blame Officer Rathbun. During his testimony, Webster

called Officer Rathbun a “rogue cop,” and questioned Officer Rathbun’s training, integrity, and

professionalism. Trial Transcript, Apr. 28, 2022, Morning Session, 135:8 (Testimony of Thomas

Webster). To this day, Webster has never once apologized to Officer Rathbun, much less accepted

responsibility for his unprovoked violence against the police on January 6, 2021.

II.    THE CHARGES AND VERDICT

       On April 13, 2022, the grand jury returned a second superseding indictment charging

Webster with the following six counts:


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       •       Count One, Assaulting, Resisting, or Impeding Certain Officers Using a Deadly or
               Dangerous Weapon, 18 U.S.C. § 111(a)(1) and (b).

       •       Count Two, Obstructing Officers During a Civil Disorder, 18 U.S.C. § 231(a)(3).

       •       Count Three, Entering or Remaining in a Restricted Building or Grounds with a
               Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(1) and (b)(1)(A).

       •       Count Four, Disorderly or Disruptive Conduct in a Restricted Building or Grounds
               with a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(2) and (b)(1)(A).

       •       Count Five, Engaging in Physical Violence in a Restricted Building or Grounds
               with a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(4) and (b)(1)(A).

       •       Count Six, Engaging in an Act of Physical Violence in the Capitol Grounds or
               Capitol Buildings, 40 U.S.C. § 5104(e)(2)(F).

ECF No. 76.

       The Court presided over the trial from April 25 through May 2, 2022. On May 2, the jury

found that Webster had not testified credibly, rejected his self-defense claim, and returned a verdict

of guilty on all counts. ECF No. 86. On August 1, 2022, the Court denied Webster’s post-trial

Motion for Judgment of Acquittal Pursuant to Federal Rule of Criminal Procedure 29(c). ECF No.

99.

III.   STATUTORY PENALTIES

       Webster now faces sentencing on all six counts. As noted by the U.S. Probation Office,

the statutory maximum term of imprisonment is twenty years for Count One (Assaulting,

Resisting, or Impeding Certain Officers, with a Deadly or Dangerous Weapon), five years for

Count Two (Civil Disorder), ten years each on Counts Three, Four, and Five (Entering and

Remaining, Disorderly and Disruptive Conduct, and Engaging in Physical Violence on Restricted

Grounds with a Deadly or Dangerous Weapon), and six months for Count Six (Act of Physical

Violence on Capitol Grounds). PSR ¶¶ 114-19.
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       The statutory maximum fine for each of Counts One through Five is $250,000. 18 U.S.C.

§ 3571(b)(3); PSR ¶ 143. The statutory maximum fine for Count Six is $5,000. 18 U.S.C.

§ 3571(b)(6); PSR ¶ 144. The maximum term of supervised release for each of Counts One

through Five is three years. 18 U.S.C. § 3583(b)(2); PSR ¶ 124. Because Count Six is a “petty

offense,” there is no applicable term of supervised release. See 18 U.S.C. §§ 19 and 3583(b)(3);

PSR ¶ 126.

IV.    THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

       As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence. Id.

at 49. The Sentencing Guidelines are “the product of careful study based on extensive empirical

evidence derived from the review of thousands of individual sentencing decisions” and are the

“starting point and the initial benchmark” for sentencing. Id.

       A.      Guidelines Sentencing Range

       The PSR correctly calculates Webster’s Guidelines range.           While the government

respectfully submits that the offense level computations for each count should be performed prior

to the grouping analysis, as discussed further below, the government agrees that Counts One

through Five group pursuant to U.S.S.G. § 3D1.2(c), and that the offense level applicable to the

group is the offense level for the most serious of the counts comprising the group – in this case,

Count One. See U.S.S.G. § 3D1.3(a); PSR ¶¶ 45-48. The Guidelines calculation for Count One:

Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. § 111(a)(1) and (b),


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is:

        U.S.S.G. § 2A.2.2(a)                 Base Offense Level                          14
        U.S.S.G. § 2A2.2(b)(2)(B)            Dangerous Weapon                            +4
        U.S.S.G. § 2A2.2(b)(3)(A)            Bodily Injury                               +3
        U.S.S.G. § 2A2.2(b)(7)               Convicted Under 18 U.S.C. § 111(b)          +2
        U.S.S.G. § 3A1.2(a), (b)             Official Victim Adjustment                  +6
        U.S.S.G. § 3A1.3                     Restraint of Victim                         +2
        U.S.S.G. § 3B1.5(2)(B)               Use of Body Armor in Crime of Violence      +4
        U.S.S.G. § 3C1.1                     Obstructing the Administration of Justice   +2
                                                            Total Offense Level:         37

PSR ¶¶ 50-58. The U.S. Probation Office correctly calculated Webster’s criminal history as

Category I. PSR ¶ 65. Based on a total offense level of 37 and a criminal history category of I,

the Guidelines range is 210 to 262 months of incarceration. Because the statutory maximum for

Count One is twenty years, however, the Guidelines range is capped at 240 months of

incarceration. 1

        B.         Sequencing of Guidelines Analysis for Each Count

        As set forth in the addendum to the PSR, the government respectfully submits that the

offense level computations for each count should be performed prior to the grouping analysis.

Sequencing the analysis as the government suggests (and as the Guidelines require) shows that the

total offense level for Count Two is 33, the total offense level for Count Three is 27, the total

offense level for Count Four is 33, and the total offense level for Count Five is 33. Pursuant to

U.S.S.G. § 1B1.9, the Guidelines do not apply to Count Six.

        The Guidelines set out the specific “order” of the analysis: first, for each count of




1
  Based on the facts and circumstances of Webster’s case, the Government does not seek
imposition of an upward departure pursuant to U.S.S.G. § 3A1.4, n.4 because a sentence within
the Guidelines range as determined in the PSR is sufficient, but not greater than necessary, to
comply with the purposes of sentencing as set forth in 18 U.S.C. § 3553(a)(2).
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conviction, determine the offense guideline; second, determine the base offense level and apply

any appropriate specific offense characteristics, cross references, and special instructions; third,

apply any adjustments in Parts A, B, and C of Chapter 3. U.S.S.G. § 1B1.1(a)(1)-(3). Then, repeat

each step for each additional count of conviction. U.S.S.G. § 1B1.1(a)(4). Finally, perform the

grouping analysis in Part D of Chapter 3. Id.

       Probation did not follow this procedure in preparing the PSR. 2 Rather, Probation started

with the grouping analysis in Part D of Chapter 3, PSR ¶¶ 45-49, then did the Guidelines analysis

in U.S.S.G. § 1B1.1(a)(1)-(3), but only for Count One. PSR ¶¶ 50-61. But the grouping analysis

should be “[a]ppl[ied]” only after the Guidelines analysis is performed for each separate count.

U.S.S.G. § 1B1.1(a)(4).

       The PSR did not include a Guidelines analysis for Counts Two through Five. Although,

as stated above, the government agrees with Probation’s grouping analysis and that the offense

level applicable to the grouped offenses is the offense level which produces the highest offense

level—in this case, the offense level for Count One—the PSR should have included the offense

level computation for all counts.

       The government submits that the appropriate offense level computations for Counts Two,

Three, Four, and Five, prior to any grouping analysis under Part D of Chapter 3, are as follows:

       Count Two: 18 U.S.C. § 231(a)(3)

       U.S.S.G. § 2A2.4(a)                    Base Offense Level                            10
       U.S.S.G. § 2A2.4(b)(1)                 Physical Contact or Dangerous Weapon          +3
       U.S.S.G. § 2A2.4(c)(1)                 Aggravated Assault Cross-Reference


2
  On page 25 of the PSR, Probation explained that the Guide to Judiciary Policy allows the
grouping analysis to take the place of certain individual count analyses. But the Guidelines
themselves are clear on the necessary sequencing.

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Applying U.S.S.G. § 2A2.2 (Aggravated Assault)________________________

U.S.S.G. § 2A2.2(a)                Base Offense Level                         14
U.S.S.G. § 2A2.2(b)(2)(B)          Dangerous Weapon                           +4
U.S.S.G. § 2A2.2(b)(3)(A)          Bodily Injury                              +3
U.S.S.G. § 2A2.2(b)(7)             Conviction under 18 U.S.C. § 111(b)        +2
U.S.S.G. § 3A1.2(a), (b), (c)      Official Victim                            +6
U.S.S.G. § 3A1.3                   Restraint of Victim                        +2
U.S.S.G. § 3C1.1                   Obstruction of Justice                     +2
                                                               Total          33

Count Three: 18 U.S.C. § 1752(a)(1), (b)(1)(A)

U.S.S.G. § 2B2.3(a)                        Base Offense Level                  4
U.S.S.G. § 2B2.3(b)(1)(A)(vii)             Restricted Building/Grounds        +2
U.S.S.G. § 2B2.3(b)(2)                     Dangerous Weapon                   +2
U.S.S.G. § 2B2.3(c)(1)                     Intent to Commit Felony
                                           Offense Cross-Reference

Applying U.S.S.G. § 2X1.1 (Attempt, Solicitation, or Conspiracy)___________

From Count 1
U.S.S.G. § 2A2.2(a)                Base Offense Level                         14
U.S.S.G. § 2A2.2(b)(2)(B)          Dangerous Weapon                           +4
U.S.S.G. § 2A2.2(b)(3)(A)          Bodily Injury                              +3
U.S.S.G. § 2A2.2(b)(7)             Conviction under 18 U.S.C. § 111(b)        +2
U.S.S.G. § 3A1.3                   Restraint of Victim                        +2
U.S.S.G. § 3C1.1                   Obstruction of Justice                     +2
                                                               Total          27

Count Four: 18 U.S.C. § 1752(a)(2), (b)(1)(A)

U.S.S.G. § 2A2.4(a)                Base Offense Level                         10
U.S.S.G. § 2A2.4(b)(1)             Physical Contact or Dangerous Weapon       +3
U.S.S.G. § 2A2.4(c)(1)             Aggravated Assault Cross-Reference

The applicable guideline becomes U.S.S.G. § 2A2.2 (Aggravated Assault)__

U.S.S.G. § 2A2.2(a)                Base Offense Level                         14
U.S.S.G. § 2A2.2(b)(2)(B)          Dangerous Weapon                           +4
U.S.S.G. § 2A2.2(b)(3)(A)          Bodily Injury                              +3
U.S.S.G. § 2A2.2(b)(7)             Conviction under 18 U.S.C. § 111(b)        +2
U.S.S.G. § 3A1.2(a), (b), (c)      Official Victim                            +6

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       U.S.S.G. § 3A1.3                       Restraint of Victim                           +2
       U.S.S.G. § 3C1.1                       Obstruction of Justice                        +2
                                                                            Total           33

       Count Five: 18 U.S.C. § 1752(a)(4), (b)(1)(A)

       U.S.S.G. § 2A2.4(a)                    Base Offense Level                            10
       U.S.S.G. § 2A2.4(b)(1)                 Physical Contact or Dangerous Weapon          +3
       U.S.S.G. § 2A2.4(c)(1)                 Aggravated Assault Cross-Reference

       The applicable guideline becomes U.S.S.G. § 2A2.2 (Aggravated Assault)__

       U.S.S.G. § 2A2.2(a)                    Base Offense Level                            14
       U.S.S.G. § 2A2.2(b)(2)(B)              Dangerous Weapon                              +4
       U.S.S.G. § 2A2.2(b)(3)(A)              Bodily Injury                                 +3
       U.S.S.G. § 2A2.2(b)(7)                 Conviction under 18 U.S.C. § 111(b)           +2
       U.S.S.G. § 3A1.2(a), (b), (c)          Official Victim                               +6
       U.S.S.G. § 3A1.3                       Restraint of Victim                           +2
       U.S.S.G. § 3C1.1                       Obstruction of Justice                        +2
                                                                          Total             33

V.     SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

       In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct,

§ 3553(a)(6). In this case, as described below, all of the Section 3553(a) factors weigh in favor of

the recommended sentence.

       A.      Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6, 2021 was a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of the

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only times in our history when the grounds and the building were literally occupied by hostile

forces. By its very nature, the attack defies comparison to other events. While each defendant

should be sentenced based on his individual conduct, each person who participated in the breach

of the Capitol and interfered with or assaulted law enforcement officers on January 6 did so under

the most extreme of circumstances.

        Webster played a critical role in the attack on the Capitol. Webster was an agitator who

riled up the mob with his rhetoric and rage. He instigated the violent assault against Officer

Rathbun and left him vulnerable to further attack by other rioters.            Webster also directly

contributed to the collapse of the police line at the Lower West Plaza, enabling thousands of rioters

to penetrate the grounds and ultimately break into the building. Put simply, Webster did not just

violently attack a police officer; he facilitated and furthered a riot at the U.S. Capitol Building that

injured hundreds of police officers, traumatized staff and members of Congress, and that resulted

in the loss of life.

        B.       Webster’s History and Characteristics

        Webster does not have a criminal history and is not, to the government’s knowledge, a

member of any militias or extremist groups. He served honorably in the United States Marine

Corps from 1985 to 1989, and as a NYPD officer from 1991 to 2011. PSR ¶¶ 103-04. But

Webster’s prior military and police service render his violent assault of Officer Rathbun more

troubling. It is particularly disturbing that a former NYPD officer, once responsible for manning

bike-back barricades and protecting dignitaries, would help lead the breach of the barricades

outside the U.S. Capitol. It is also disturbing that a former Marine would use his U.S. Marine

Corps flag as a deadly and dangerous weapon during an attack on our democracy.


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       Webster’s training and experience in law enforcement means that he should have been

helping the police, not tackling them to the ground and trying to rip off their gas masks. He should

have been commending officers for their professionalism, courage, and restraint, not calling them

“commie motherfuckers” or “rogue cops.” Finally, he should have accepted responsibility for his

actions and apologized to Officer Rathbun instead of taking the stand to try and smear Officer

Rathbun’s reputation.

       At trial, Webster attempted to wield his police service as both a sword to attack Officer

Rathbun’s actions and a shield to defend his own. He tried to distract the jury from his own

culpability by suggesting, inaccurately, that Officer Rathbun had failed to comply with police

policies and procedures. He also invoked his academy training and police experience to justify his

violence against Officer Rathbun. In fact, Webster relied on his NYPD experience to defend some

of the more gruesome aspects of his assault of Officer Rathbun. For example, Webster claimed,

incredibly, that when he placed his hands on Officer Rathbun’s gas mask, as depicted in the picture

below, it was because he “just . . . wanted [Officer Rathbun] to see my hands” because when he

had “been in altercations like one on one, like, fighting or trying to arrest somebody, you want to

know where their hands are.”       Trial Transcript, Apr. 28, 2022, Morning Session, 149:2-9

(Testimony of Thomas Webster).




                                           Trial Exhibit 111

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Where, as here, Webster relied on his service to justify his unlawful, unprovoked, and undignified

attack on Officer Rathbun, that service should not subsequently be used to support a significant

downward variance from the Guidelines.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the U.S. Capitol Building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 3 As with the nature and circumstances of the offense,

this factor supports a lengthy sentence of incarceration.

       Webster’s criminal conduct—swinging a metal flagpole bearing the U.S. Marine Corps

flag at a police officer, tackling the officer to the ground, and choking the officer by ripping off

his gas mask, all while within a restricted area and while donning body armor—epitomizes the

disrespect for law that rioters exhibited on January 6. Police officers and the lawmakers they

sought to protect were under siege that day, and Webster understood that better than most. His

argument that he, a twenty-year NYPD veteran, believed he was entitled to retaliate with deadly

and dangerous force against the vulnerable and non-violent Officer Rathbun is not only absurd,

but dangerous. It may cause others to follow suit and use violence against an officer because of a

political grievance. A lesser sentence would undervalue the bravery and self-control Officer

Rathbun demonstrated on January 6, and could risk sending a message to the general public that


3
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),  available    at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
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entering a restricted area and perpetrating violence against the police is an acceptable form of

protest. See Gall, 552 U.S. at 54 (it is a “legitimate concern that a lenient sentence for a serious

offense threatens to promote disrespect for the law”).

         D.     The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                1.      General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. § 3553(a)(2)(B). The need to deter others is especially strong because January

6 involved acts of violence that were intended to influence the government through intimidation

or coercion—acts that have been defined, by statue, as domestic terrorism. See 18 U.S.C.

§ 2331(5).

         The violence at the Capitol on January 6 was calculated to interfere, and did interfere, with

one of the most important democratic processes we have: the peaceful transfer of power. As noted

by Judge Moss during a different sentencing hearing,

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

United States v. Paul Hodgkins, 21-cr-188-RDM (Sentencing Hearing, July 19, 2021) at 69-70.

Indeed, the attack on the Capitol means “that it will be harder today than it was [before January 6]


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for the United States and our diplomats to convince other nations to pursue democracy. It means

that it will be harder for all of us to convince our children and our grandchildren that democracy

stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. And it is

important to convey to future rioters and would-be mob participants that their actions will have

consequences.        This is especially true for those who violently attacked members of law

enforcement. There is possibly no greater factor that this Court must consider.

                2.       Specific Deterrence

       The need for the sentence to specifically deter this particular defendant weighs in favor of

the recommended sentence. Webster’s sentence should reflect not only that he assaulted Officer

Rathbun with a deadly a dangerous weapon within a restricted area and while donning protective

gear, but also that his assault contributed to the collapse of the police line, the general retreat of

officers, and, ultimately, the hostile occupation of the Capitol Building and grounds. Webster’s

sentence should also reflect that he has expressed no remorse or contrition for his conduct on

January 6, and that he chose to testify untruthfully about what happened that day. This is

extraordinary conduct, even among the subset of violent January 6 rioters.

       Webster’s failure to appreciate the wrongfulness of his conduct on January 6 suggests the

need for further deterrence. In the minutes and hours following his attack on Officer Rathbun,

when he had time to reflect on what he had done, Webster was not apologetic or ashamed. To the

contrary, he deliberately inserted himself in the background of another rioter’s live video to call

for more “patriots” to come to the Capitol and join the fight against police. See Trial Exhibit 208.

Instead of leaving the premises after attacking Officer Rathbun, Webster joined the mob atop the


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inauguration stage. Once there, Webster positioned himself toward the front and center of the

entrance to the Lower West Terrace tunnel. He did not intervene as he watched rioters drag Officer

Fanone out of the tunnel. In fact, Webster did not leave the Lower West Terrace until after 4:13

p.m.—approximately two hours after he attacked Officer Rathbun, and approximately one hour

after he watched other rioters beating and tasing Officer Fanone. See Trial Exhibit 201.1 (showing

Webster on the Lower West Terrace at 4:13 p.m.). That night, when Webster returned to his hotel

room, he did not express remorse or regret for having participated in the riot; instead, he texted a

friend to “Never forget this date.”

       Webster’s testimony at trial further underscores his failure to appreciate the wrongfulness

of his conduct. Throughout trial, Webster continuously blamed Officer Rathbun and never once

accepted responsibility for his conduct. For example, Webster attempted to blame Officer Rathbun

for his rage, claiming, falsely, that Officer Rathbun waved him over the fence and “looked up at

[his] flag” in a provocative way. See Trial Transcript, Apr. 28, 2022, Morning Session, 127:13-

18; 130:7-9; 133:6-7 (Testimony of Thomas Webster). But, as the evidence at trial showed,

Webster was enraged before ever approaching Officer Rathbun.            Id. at 126:9-21 (Webster

admitting that he emerged from the crowd “pretty upset”). Webster also attempted to blame

Officer Rathbun for failing to keep the bike racks connected, even though Webster himself pried

open the bike racks. Id. at 130:23-25. Webster further faulted Officer Rathbun for not standing

stoically like a statue while Webster harassed him and physically invaded his space. Id. at 131:7-

18 (“Q: How were they responding to you cursing at them, the other officers standing to Officer

Rathbun’s left and right? A: Like a statue, like you’re supposed to be.”). Webster even went so

far as to blame Officer Rathbun for getting tackled to the ground, claiming—falsely, again—that


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Officer Rathbun “came out and met me . . . and we kind of just, like, ran into each other.” Id. at

148:15-17.

       Overall, through his conduct on January 6 and his testimony at trial, Webster has shown

that he will not accept responsibility for his unlawful conduct, and that he does not believe that he

did anything wrong on January 6. Clearly, a lengthy term of incarceration is needed to deter him

from committing future crimes of violence based on his political grievances.

       F.      Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that Webster and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to other assaultive or

obstructive related conduct in other cases. To mechanically compare defendants who violated

§ 111(b) before January 6, 2021 would fail to take into consideration the context in Webster’s

crimes occurred and would be a disservice to the magnitude of what the riot entailed and signified.

       As of the date of this sentencing memorandum, by the government’s count, only four

Capitol Riot defendants have been sentenced for convictions under 18 U.S.C. § 111(a)(1) and (b). 4

While some of those defendants also attacked officers with metal poles and other dangerous

weapons, none physically tackled and restrained an officer on the ground. None put hands on the

officer, let alone dragged the officer across the ground by his gas mask. None choked an officer.

None caused bodily injury to an officer. None wore body armor. None had prior law enforcement

experience or the same appreciation for the dangers that officers protecting the Capitol faced on


4
  See United States v. Robert Palmer, 21-cr-328-TSC (63 months); United States v. Devlyn
Thompson, 21-cr-461-RCL (46 months); United States v. Nicholas Languerand, 21-cr-353-JDB
(44 months); United States v. Mark Ponder, 21-cr-259-TSC (63 months).
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January 6. None provided materially false information under oath. None blamed the victims of

their assaults. None attempted to delete evidence from their cellular phones. None had a

sentencing range anywhere close to Webster’s Guidelines range. And because none of the other

defendants was convicted after trial, all of those defendants, by definition, expressed at least some

acceptance of responsibility.

       Consider, for example, Mark Ponder, who assaulted several police officers on the West

Plaza after breaking through the bike rack barricade. Like Webster, Ponder swung a flagpole at

an officer with enough force to break the pole in half. Unlike Webster, however, Ponder’s victim

had a riot shield and hard gear to protect himself. After breaking his first pole, Ponder secured a

second, sturdier flagpole, 5 which he used to attack two additional officers. None of the officers

reported any bodily injury from Ponder’s assaults. Ponder’s Guidelines range was 57 to 71

months; Judge Chutkan sentenced him to 63 months.

       Ponder, unlike Webster, accepted responsibility for his conduct. He did not blame his

violence on his victims; he did not physically restrain his victims or tackle them to the ground; he

did not use body armor during the commission of the offense; and he did not obstruct justice by

deleting photographic evidence from his phone or by providing materially false testimony under

oath. Moreover, Ponder had an extraordinarily difficult childhood and continues to suffer in his

adult life from addiction and mental health issues. United States v. Ponder, 21-cr-259-TSC, ECF

No. 54 at 26. Webster, by contrast, does not suffer from those afflictions. While Webster did have




5
 Ponder’s second weapon was a pole colored in red, white, and blue stripes. At sentencing,
Judge Chutkan remarked on the “palpable” irony of using a red, white, and blue pole as a
weapon against police. That irony is even more pronounced in this case, where Webster used a
U.S. Marine Corps flag as a weapon.
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a challenging childhood, PSR ¶ 72, his decades of training and experience as a NYPD officer

should have specifically deterred him from attacking a fellow police officer with a metal flagpole.

       Consider, also, Robert Palmer, who threw a wooden plank at officers stationed in the Lower

West Terrace tunnel and emptied the contents of a fire extinguisher at officers before hurling the

metal extinguisher at them. Palmer was denied any credit for acceptance of responsibility because

of false statements he made on the Internet claiming that his actions on January 6 were purely

defensive. Palmer’s Guidelines range was 63 to 78 months; he was sentenced by Judge Chutkan

to 63 months of incarceration. If Palmer’s online statements were sufficient to deprive him of any

acceptance of responsibility credit, then Webster’s apocryphal and ahistorical retelling of the

assault under oath, which the jury determined was not credible, should warrant even further

punishment.

       Only one Capitol Riot defendant who already went to trial has been sentenced. See United

States v. Guy Reffitt, 21-cr-32-DLF. On August 1, 2022, Reffitt was sentenced to 87 months of

incarceration—the low-end of the Guidelines range—for leading the mob’s breach of the police

line at the top of the northwest staircase. Unlike Webster, Reffitt did not physically attack any

officers, and, though he was armed with a handgun, did not use or brandish it on January 6. Reffitt

also did not take the stand at trial or provide materially false testimony under oath. He did not

blame officers for provoking him into violence, and he did not attack the integrity and

professionalism of the police who protected the Capitol Building on January 6. As with Reffitt, a

Guidelines sentence is appropriate in this case because it adequately reflects the scope and severity

of Webster’s conduct, his lack of remorse and acceptance of responsibility, and the harm that his

conduct inflicted on Officer Rathbun and, more broadly, on our country and our democracy.


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VI.    RESTITUTION

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). Two general restitution statutes provide such authority. First, the Victim and Witness

Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579, 96 Stat. 1248 (now codified at 18

U.S.C. § 3663), “provides federal courts with discretionary authority to order restitution to victims

of most federal crimes.” Papagno, 639 F.3d at 1096. Second, the Mandatory Victims Restitution

Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at 18 U.S.C. § 3663A),

“requires restitution in certain federal cases involving a subset of the crimes covered” in the

VWPA. Papagno, 639 F.3d at 1096. The applicable procedures for restitution orders issued and

enforced under these two statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing

that sentencing court “shall” impose restitution under the MVRA, “may” impose restitution under

the VWPA, and “shall” use the procedures set out in Section 3664).

       The VWPA and MVRA share certain features. Both require that restitution “be tied to the

loss caused by the offense of conviction.” Hughey v. United States, 495 U.S. 411, 418 (1990)

(interpreting the VWPA); see United States v. Clark, 747 F.3d 890, 897 (D.C. Cir. 2014)

(restitution under the MVRA limited to the “offense of conviction” under Hughey). Both require

identification of a victim, defined in both statutes as “a person directly and proximately harmed as




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a result of” the offense of conviction. 6 See 18 U.S.C. § 3663(a)(2) (VWPA); 18 U.S.C.

§ 3663A(a)(2). Both statutes identify similar covered costs, including lost property and certain

expenses of recovering from bodily injury.        See Papagno, 639 F.3d at 1097; § 3663(b);

§ 3663A(b). Finally, under both statutes, the government bears the burden by a preponderance of

the evidence to establish the amount of loss suffered by the victim. United States v. Bikundi, 926

F.3d 761, 791 (D.C. Cir. 2019). The relevant inquiry is the scope of the defendant’s conduct and

the harm suffered by the victim as a result. See Emor, 850 F. Supp. 2d at 202. The use of a

“reasonable estimate” or reasonable approximation is sufficient, “especially in cases in which an

exact dollar amount is inherently incalculable.” 7 United States v. Gushlak, 728 F.3d 184, 196 (2d

Cir. 2013); see United States v. Sheffield, 939 F.3d 1274, 1277 (11th Cir. 2019) (estimating the

restitution figure is permissible because “it is sometimes impossible to determine an exact

restitution amount”) (citation omitted); United States v. James, 564 F.3d 1237, 1246 (10th Cir.

2009) (restitution order must identify a specific dollar amount but determining that amount is “by

nature an inexact science” such that “absolute precision is not required”) (citation omitted); United

States v. Burdi, 414 F.3d 216, 221 (1st Cir. 2005) (same); see also Paroline v. United States, 572

U.S. 434, 459 (2014) (observing in the context of the restitution provision in 18 U.S.C. § 2259 that

the court’s job to “assess as best it can from available evidence the significance of the individual

defendant’s conduct in light of the broader casual process that produced the victim’s losses . . .

cannot be a precise mathematical inquiry”).



6
 The government or a governmental entity can be a “victim” for purposes of both the VWPA and
MVRA. United States v. Emor, 850 F. Supp. 2d 176, 204 n.9 (D.D.C. 2012).
7
 The sentencing court should “articulate the specific factual findings underlying its restitution
order in order to enable appellate review.” Fair, 699 F.3d at 513.
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       The statutes also differ in significant respects.        As noted above, the VWPA is a

discretionary restitution statute that permits, but does not require, the sentencing court to impose

restitution in any case where a defendant is convicted under Title 18 or certain other offenses in

Title 21 or Title 49. 18 U.S.C. § 3663(a). In deciding whether to impose restitution under the

VWPA, the sentencing court must take account of the victim’s losses, the defendant’s financial

resources, and “such other factors as the court deems appropriate.” United States v. Williams, 353

F. Supp. 3d 14, 23-24 (D.D.C. 2019) (quoting 18 U.S.C. § 3663(a)(1)(B)(i)). By contrast, as noted

above, the MVRA applies only to certain offenses, such as a “crime of violence,”

§ 3663A(c)(1)(A), or “Title 18 property offenses ‘in which an identifiable victim . . . has suffered

a physical injury or pecuniary loss,’” Fair, 699 F.3d at 512 (citation omitted), but it requires

imposition of full restitution without respect to a defendant’s ability to pay. 8

       Applying these principles to this case leads to the conclusion that Webster should be

required to pay $2,060 in restitution.

       First, under the MVRA, Webster is obligated to pay any expenses incurred by Officer

Rathbun during participation in the investigation or prosecution of the offense or attendance at

proceedings related to the offense. See 18 U.S.C. § 3663A(b)(4). Officer Rathbun has represented

to undersigned counsel that he is seeking $60 to cover the estimated cost of gas for transportation

to and from witness preparation meetings and trial. 9


8
 Both statutes permit the sentencing court to decline to impose restitution where doing so will
“complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. § 3663(a)(1)(B)(ii); 18
U.S.C. § 3663A(c)(3)(B).
9
 If the United States learns of any further expenses incurred by Officer Rathbun as a result of
Webster’s offense or as a result of Officer Rathbun’s participation in the investigation and
prosecution of this case, the United States may file a supplemental request for restitution. 18
U.S.C. § 3664(d)(5).
                                                44
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       Second, one of the offenses for which Webster was convicted, 18 U.S.C. § 1752(a)(1),

triggers mandatory restitution under the MVRA as an “offense against property” that resulted in

pecuniary loss for the Architect of the Capitol. See 18 U.S.C. § 3663A(c)(1)(A)(ii). Moreover,

Webster’s four additional convictions under Title 18 fall within the VWPA. As the evidence at

trial showed, Webster’s conduct, in conjunction with that of many other rioters, directly and

proximately resulted in damage to the Capitol Building and grounds and losses suffered by law

enforcement officers deployed to protect Members of Congress, their staff, and other Capitol

employees. A “reasonable estimate,” Gushlak, 728 F.3d at 196, of the restitution for which

Webster should be responsible is $2,000. That is the same amount that defendants convicted of

felony offenses in connection with the events of January 6 have typically agreed to pay under their

plea agreements.

       The VWPA and MVRA also provide that restitution ordered under Section 3663 “shall be

issued and enforced in accordance with section 3664.”            18 U.S.C. § 3663(d); 18 U.S.C.

§ 3663A(d). Because this case essentially involves the related criminal conduct of hundreds of

defendants, the Court has discretion to: (1) hold the defendants jointly and severally liable for the

full amount of restitution owed to the victim(s), see 18 U.S.C. § 3664(f)(1)(A) (requiring that, for

restitution imposed under § 3663, “the court shall order restitution to each victim in the full amount

of each victim’s losses as determined by the court and without consideration of the economic

circumstances of the defendant”); or (2) apportion restitution and hold the defendant and other

defendants responsible only for each defendant’s individual contribution to the victim’s total

losses. 18 U.S.C. § 3664(h).

       Webster’s crimes on January 6 affected several entities responsible for the Capitol


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Building, among them the Architect of the Capitol, the Office of the Chief Administrative Officer

of the United States House of Representatives, and the Office of the Secretary of the United States

Senate. Attached as Exhibits G, H, and I are letters from each of these three entities, attesting to

the pecuniary damages each suffered as a result of the attack on the Capitol on January 6:

$1,253,354.01, $547,411.27, and $32,075.00, respectively.           That is a total amount of

$1,832,840.28, which does not even account for the damages suffered by the Capitol Police,

Metropolitan Police Department, or myriad other law enforcement entities. 10

       Here, Webster should be directed to pay $2,060 as an approximate estimate of the losses

for which he is responsible. Webster’s restitution payment should be made to the Clerk of the

Court, who will forward the payment to Officer Rathbun and the Architect of the Capitol,

respectively.

VII.   FINE

       Webster’s felony convictions subject him to a statutory maximum fine of $250,000. 18

U.S.C. § 3571(b)(3). In determining whether to impose a fine, the sentencing court should consider

the defendant’s income, earning capacity, and financial resources. See 18 U.S.C. § 3572(a)(1);

U.S.S.G. § 5E1.2(d). In assessing a defendant’s income and earning capacity, a sentencing court

properly considers whether a defendant can or has sought to “capitalize” on a crime that

“intrigue[s]” the “American public.” United States v. Seale, 20 F.3d 1279, 1284-86 (3d Cir. 1994).

The government is not seeking a fine in this case.




10
  The government estimates that, as of April 5, 2022, the approximate total losses suffered as a
result of the siege at the United States Capitol was $2,734,783.15.
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VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of 210 months’ imprisonment, which is at the low end of the Guidelines range. The

government further recommends that the Court impose a term of supervised release of 3 years,

restitution of $2,060, a mandatory $100 special assessment for each of the five felony counts of

conviction, and a mandatory $10 special assessment for Count Six.

                                            Respectfully submitted,

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